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11
                         IN THE UNITED STATES DISTRICT COURT
12                     FOR THE NORTHERN DISTRICT OF CALIFORNIA
                                   SAN JOSE DIVISION
13
     MATT JONES, BRYSON DECHAMBEAU,                CASE NO. 5:22-cv-04486-BLF
14   PETER UIHLEIN, and LIV GOLF INC.,
                                                   [PROPOSED] ORDER SEALING
15                           Plaintiffs,           PORTIONS OF PGA TOUR, INC.’S
                                                   MOTION FOR LEAVE TO AMEND
16        v.                                       COUNTERCLAIM TO ADD COUNTER-
                                                   DEFENDANTS
17   PGA TOUR, INC.,
18                           Defendant and
                             Counter-Plaintiff,
19
          v.
20
     LIV GOLF INC.,
21
                       Counter-Defendant.
22

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                                           [PROPOSED] ORDER
                                  CASE NO. 5:22-CV-04486-BLF
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1           Pursuant to Civil Local Rule 79-5, Non-Parties the Public Investment Fund of the Kingdom of
2    Saudi Arabia and His Excellency Yasir Othman Al-Rumayyan filed an administrative motion to
3    consider whether another party’s material should remain sealed. Dkt. No. 237. Plaintiff LIV Golf,
4    Inc. (“LIV”) filed a Statement and Declaration in Support of Sealing.
5           Based on the below reasoning, the Court orders that the following materials SHALL remain
6    sealed or redacted:
7
      ECF or Ex. No.           Document             Potion(s) to Seal            Reason(s) for Sealing
8
        Document
9        ECF 237-4         Memorandum of        Highlighted portions at      Contains           confidential
                           Law ISO PGA Tour     lines 5:14-16, 5:18-20,      information     about    LIV’s
10                         Inc.’s Motion for    5:23-24, 6:1, 6:3-12,        Shareholder Agreement setting
                           Leave to Amend       7:23-27, 3:26-27             out its relationship with its
11                                                                           investors, including investor
                                                                             rights, disclosure of which
12
                                                                             would prejudice LIV’s ability
13                                                                           to obtain outside funding,
                                                                             pursue a franchise model in the
14                                                                           future, and obtain future
                                                                             business.
15
                                                                             Contains            confidential
16
                                                                             information about a services
17                                                                           agreement setting out LIV’s
                                                                             relationship with its investors,
18                                                                           disclosure of which would be
                                                                             exploited by competitors for
19                                                                           competitive gain and prejudice
                                                                             LIV’s ability to obtain future
20
                                                                             business.
21
                                                                             Contains            confidential
22                                                                           information LIV’s internal
                                                                             decision-making,       including
23                                                                           participation of LIV’s investors
                                                                             in     that    decision-making,
24
                                                                             disclosure of which would
25                                                                           harm LIV by allowing
                                                                             competitors to exploit the
26                                                                           information, deterring potential
                                                                             business      partners,      and
27                                                                           revealing LIV’s non-public
                                                                             strategy for dealing with
28
                                                                             competitors.

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1
                                                              Contains            confidential
2                                                             information about specific
3                                                             negotiations and offers to
                                                              certain     players,     agents,
4                                                             sponsors, and broadcasters,
                                                              including specific terms of
5                                                             offers.    Disclosure of this
                                                              information     would      cause
6
                                                              competitive harm to LIV,
7                                                             including by constraining its
                                                              ability to negotiate different
8                                                             terms, inviting speculation
                                                              about why certain entities
9                                                             decided to do business (or not)
                                                              with LIV, prejudicing LIV’s
10
                                                              ability to obtain future
11                                                            business, and constraining
                                                              LIV’s ability to pursue
12                                                            confidential negotiations.
13                                                            Contains             confidential
                                                              information about the terms of
14
                                                              certain          indemnification
15                                                            agreements, disclosure of
                                                              which would ham LIV by
16                                                            revealing the contours of
                                                              potential litigation, including
17                                                            the parties of the contemplated
18                                                            litigation and amounts offered
                                                              for indemnification, which
19                                                            could be exploited by other
                                                              litigants.
20

21   ECF 237-1   Exhibit A (Proposed Highlighted portions at Contains            confidential
                 Counterclaim)       ¶¶ 6, 25, 26, 29-31, 64- information     about    LIV’s
22
                                     65, 31-35, 44            Shareholder Agreement setting
23                                                            out its relationship with its
                                                              investors, including investor
24                                                            rights, disclosure of which
                                                              would prejudice LIV’s ability
25                                                            to obtain outside funding,
                                                              pursue a franchise model in the
26
                                                              future, and obtain future
27                                                            business.

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1                                                        Contains            confidential
                                                         information about a services
2                                                        agreement setting out LIV’s
3                                                        relationship with its investors,
                                                         disclosure of which would be
4                                                        exploited by competitors for
                                                         competitive gain and prejudice
5                                                        LIV’s ability to obtain future
                                                         business.
6

7                                                        Contains            confidential
                                                         information LIV’s internal
8                                                        decision-making,       including
                                                         participation of LIV’s investors
9                                                        in     that    decision-making,
                                                         disclosure of which would
10                                                       harm LIV by allowing
11                                                       competitors to exploit the
                                                         information, deterring potential
12                                                       business      partners,      and
                                                         revealing LIV’s non-public
13                                                       strategy for dealing with
                                                         competitors.
14

15                                                       Contains            confidential
                                                         information about specific
16                                                       negotiations and offers to
                                                         certain     players,     agents,
17                                                       sponsors, and broadcasters,
                                                         including specific terms of
18
                                                         offers.    Disclosure of this
19                                                       information     would      cause
                                                         competitive harm to LIV,
20                                                       including by constraining its
                                                         ability to negotiate different
21                                                       terms, inviting speculation
                                                         about why certain entities
22
                                                         decided to do business (or not)
23                                                       with LIV, prejudicing LIV’s
                                                         ability to obtain future
24                                                       business, and constraining
                                                         LIV’s ability to pursue
25                                                       confidential negotiations.
26
                                                         Contains           confidential
27                                                       information about the terms of
                                                         certain       indemnification
28                                                       agreements, disclosure of


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1                                                            which would ham LIV by
                                                             revealing the contours of
2                                                            potential litigation, including
3                                                            the parties of the contemplated
                                                             litigation and amounts offered
4                                                            for indemnification, which
                                                             could be exploited by other
5                                                            litigants.
6
     ECF 237-2   Exhibit B (Proposed Highlighted portions at Contains          confidential
7                Counterclaim        ¶¶ 6, 25, 26, 29-31, 64- information   about    LIV’s
8                Redline)            65, 31-35, 44            Shareholder Agreement setting
                                                             out its relationship with its
9                                                            investors, including investor
                                                             rights, disclosure of which
10                                                           would prejudice LIV’s ability
11                                                           to obtain outside funding,
                                                             pursue a franchise model in the
12                                                           future, and obtain future
                                                             business.
13
                                                             Contains            confidential
14                                                           information about a services
15                                                           agreement setting out LIV’s
                                                             relationship with its investors,
16                                                           disclosure of which would be
                                                             exploited by competitors for
17                                                           competitive gain and prejudice
                                                             LIV’s ability to obtain future
18                                                           business.
19
                                                             Contains            confidential
20                                                           information LIV’s internal
                                                             decision-making,       including
21                                                           participation of LIV’s investors
                                                             in     that    decision-making,
22                                                           disclosure of which would
23                                                           harm LIV by allowing
                                                             competitors to exploit the
24                                                           information, deterring potential
                                                             business      partners,      and
25                                                           revealing LIV’s non-public
                                                             strategy for dealing with
26                                                           competitors.
27
                                                             Contains           confidential
28                                                           information    about specific
                                                             negotiations   and offers to

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1                                                         certain     players,    agents,
                                                          sponsors, and broadcasters,
2                                                         including specific terms of
3                                                         offers.   Disclosure of this
                                                          information     would      cause
4                                                         competitive harm to LIV,
                                                          including by constraining its
5                                                         ability to negotiate different
                                                          terms, inviting speculation
6
                                                          about why certain entities
7                                                         decided to do business (or not)
                                                          with LIV, prejudicing LIV’s
8                                                         ability to obtain future
                                                          business, and constraining
9                                                         LIV’s ability to pursue
                                                          confidential negotiations.
10

11                                                        Contains             confidential
                                                          information about the terms of
12                                                        certain          indemnification
                                                          agreements, disclosure of
13                                                        which would ham LIV by
                                                          revealing the contours of
14
                                                          potential litigation, including
15                                                        the parties of the contemplated
                                                          litigation and amounts offered
16                                                        for indemnification, which
                                                          could be exploited by other
17                                                        litigants.
18

19   ECF 237-3   Exhibit C (Exhibit Entire Exhibit        Contains             confidential
                 Under Seal)                              information      about     LIV’s
20                                                        recruitment       of     players,
                                                          including the identities of the
21                                                        players, the number of offers,
                                                          the structure of the offers, and
22
                                                          the terms of the offers,
23                                                        including specific amounts,
                                                          disclosure of which would
24                                                        harm LIV by constraining its
                                                          ability to offer different terms,
25                                                        revealing its ability and
                                                          willingness to pay, and
26
                                                          allowing LIV’s recruitment
27                                                        strategy to be exploited by
                                                          competitors.
28


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2         IT IS SO ORDERED.
3

4    DATED _________________________         _____________________________________
                                             BETH LABSON FREEMAN
5                                            United States District Court Judge
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